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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF OKLAHOMA

  A.V. AVINGTON, JR.,                 )
                                      )
                   Plaintiff,         )
                                      )               Case No. 14-CV-233-JED-PJC
  v.                                  )
                                      )
  MAXIM HEALTHCARE SERVICES INC. )
  d/b/a MAXIM STAFFING SOLUTIONS )
  AGENCY, INC.,                       )
                                      )
                           Defendant. )


                                  JUDGMENT OF DISMISSAL

         Pursuant to the Court’s Order granting defendant’s Motion to Dismiss Second Amended

  Complaint, plaintiff’s second amended complaint (Doc. 23) is dismissed with prejudice.

  Judgment is hereby entered for defendant and against plaintiff. This is a final order terminating

  the case.

         DATED this 30th day of September, 2016.
